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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ROBERT T. BROCKMAN,                       §
                                          §
              Plaintiff,                  §
                                          §
              v.                          §      Civil Action No. 4:22-cv-00202-GCH
                                          §
UNITED STATES OF AMERICA,                 §
                                          §
              Defendant.                  §

                       DECLARATION OF FRANK JACKSON

       I, Frank Jackson, declare as follows:

       1.     I am a member of the bar of the States of New York, Massachusetts, and

Tennessee, and of various other federal courts. I am a partner of the law firm Jones Day,

counsel for Plaintiff Robert T. Brockman. I make this Declaration in support of Plaintiff

Robert T. Brockman’s Reply in Support of Motion for Determination on Complaint for

Judicial Review and Abatement of Jeopardy Assessment and Jeopardy Levy Pursuant to

26 U.S.C. § 7429.

       2.     Attached as Exhibit 1 is a copy of an article published by Bloomberg News on

October 15, 2020.

       3.     Attached as Exhibit 2 is a copy of a Judgement dated November 17, 2021

by the Chief Justice of the Supreme Court of Bermuda in Spanish Steps Holdings Ltd. v.

Point Investments Ltd., 2020: No. 300 (Supreme Court of Bermuda).
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       4.     Attached as Exhibit 3 is a copy of a letter dated February 3, 2022, from the

Padula Law Firm, on behalf of their client, Evatt Tamine, to Herbert Linder, counsel for

Defendant, the United States.

       5.     Attached as Exhibit 4 is a copy of Robert T. Brockman’s Request for

Administrative Review of Notice of Jeopardy Assessment and Rights to Appeal (without

exhibits) dated October 7, 2021.

       6.     Attached as Exhibit 5 are copies of account statements dated December 30, 2020,

for two accounts ending in 81 and 82 held with Bessemer Trust.

       7.     Attached as Exhibit 6 are copies of excerpts from the transcript of the

Competency Hearing, AM Session, held on November 17, 2021, in the case of United States v.

Brockman, No. 4:21-cv-00009.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed in New York, New York on February 7, 2022.



                                                    /s/ Frank Jackson
                                                    Frank Jackson




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                        EXHIBIT 1
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Bloomberg                                                                                                                                                                 News Story


10/15/2020             18:07:55 [BN] Bloomberg News



Houston Tech Mogul Indicted for ‘Largest-Ever Tax Charge’ (3)

            Robert Brockman is accused of hiding $2 billion offshore
            Billionaire Robert Smith avoids prosecution by helping U.S.

By David Voreacos and Neil Weinberg


(Bloomberg) -- Robert T. Brockman, a Houston software tycoon, was charged with using a web of Caribbean
entities to hide $2 billion in income in what prosecutors called the largest U.S. tax case ever against an individual.

Brockman, 79, used a family charitable trust based in Bermuda and other offshore entities to hide assets from the
Internal Revenue Service while failing to pay taxes, according to a 39-count indictment unsealed Thursday in federal
court in San Francisco. Brockman was also charged with money laundering and other crimes.

Prosecutors received help from Robert Smith, the CEO of Vista Equity Partners, who set up his private equity fund
two decades ago with a $1 billion investment from Brockman’s trust structure.

Brockman earned about $2 billion in capital gains made through his Vista investments, according to the indictment.

“The allegation of a $2 billion tax fraud is the largest-ever tax charge against an individual in the United States,”
David Anderson, the U.S. attorney in San Francisco, said at a news conference.




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Bloomberg ®                                                                                                                                                                                   Page 1 of 3
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Bloomberg                                                                                                                                                                 News Story




Robert Brockman

The indictment charges Brockman with crimes including money laundering, evidence tampering and destruction of
evidence. He’s also charged with wire fraud for using intermediaries to manipulate debt securities at his company.
Brockman used code names and encrypted emails to secretly manage the trusts, according to the indictment.

Brockman also “engaged in multiple instances of obstructive conduct,” including directing an associate to destroy
documents and electronic media using shredders and hammers, according to the indictment.

Brockman appeared by video conference in federal court in Houston, where he pleaded not guilty. He was released
on a $1 million bond.

“We look forward to defending him against these charges,” said Brockman attorney Kathryn Keneally.

As part of Smith’s settlement, he admitted that he failed to pay about $30 million in taxes, with penalties and
interest making up the remainder of the expected payout. Smith used untaxed income to buy a vacation home in
Sonoma County, California, and ski properties in the French Alps, and to make charitable contributions, Anderson
said.

Smith, 57, entered into a non-prosecution agreement and will pay $139 million, Anderson said.

“Smith committed serious crimes, but he also agreed to cooperate,” he said. “Smith’s agreement to cooperate put




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Bloomberg                                                                                                                                                                 News Story


him on a path away” from criminal charges.

Smith faced a related four-year criminal tax inquiry involving about $200 million that moved through Brockman-
linked offshore structures.

With a net worth of $7 billion, Smith is the wealthiest Black person in America. The criminal tax probe into Smith
was first reported by Bloomberg News in August.

Like many wealthy Americans, Brockman set up offshore trusts that on paper were overseen by independent
directors. However, the indictment charges that he conspired over two decades to secretly maintain “complete”
control over trust assets while failing to pay capital gains and income taxes.

Brockman created false paper trails to secretly purchase a luxury yacht now known as Albula and to spend $30
million on properties called the “Frying Pan Canon Ranch” and the “Mountain Queen” vacation home in Pitkin
County, Colorado, prosecutors said.

As the CEO of Reynolds & Reynolds, Brockman oversees one of the largest vendors of software to manage auto
dealerships in the U.S. and abroad.

Brockman’s investment in the first private equity fund set up by Smith came from an entity held as part of the A.
Eugene Brockman Charitable Trust, which was named for Brockman’s late father. Brockman is a beneficiary of the
trust.

More:

                   Billionaire Robert Smith Fighting U.S. Criminal Tax Inquiry
                   Tech Mogul’s Secrecy Crumbles in IRS Chase of ‘Record’ Trove

(Updates with Brockman defense attorney’s comment)

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[2021]SC (Bda) 90 Com (17 November 2021)




           In The Supreme Court of Bermuda
                            CIVIL JURISDICTION
                            COMMERCIAL COURT
                         COMPANIES ACT (WINDING UP)
                                2020: No. 300


BETWEEN:

                            SPANISH STEPS HOLDINGS LTD.
                                                                                Petitioner
                                           - and -

                               POINT INVESTMENTS LTD.

                                                                              Respondent




Before:            Hon. Chief Justice Hargun


Representation:    Mr. Keith Robinson of Carey Olsen Bermuda Limited for the Petitioner
                   Mr. Mark Diel, Ms. Katie Tornari and Mr. Christopher Snell of
                   Marshall Diel & Myers Limited for the Respondent


Date of Hearing: 29 October 2021                     Date of Judgment: 17 November 2021
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                                          JUDGMENT


Hargun CJ


Introduction


   1. At the conclusion of the hearing on 29 October 2021 the Court ordered that Andrew Childe
      and Richard Lewis of FFP Limited, Cayman Islands and Mathew Clingerman of Krys
      Global, Bermuda be appointed as Joint Provisional Liquidators (“JPLs”) of Point
      Investments, Ltd (“the Respondent”) and that the powers of JPLs shall not be limited,
      pursuant to section 170(3) of the Companies Act 1981 (“the Act”).


   2. This Judgment sets out the Court’s reasons for the appointment of JPLs and also deals with
      the Respondent’s application seeking, inter alia, a validation order pursuant to section
      166(1) of the Act.

   3. In support of these applications the Petitioner relied upon three affidavits of Kiernan Jane
      Bell, a former director of the Petitioner, and three affidavits of Peter Goddard, a director of
      BCT Directors Limited, which is now the sole director of the Petitioner. The Respondent
      relied upon seven affidavits of James Alexander Fortescue Watlington, a director of the
      Respondent.



Background

   4. The background to these winding up proceedings is helpfully set out in the written
      submissions prepared by Mr. Robinson on behalf of the Petitioner.


   5. The Petitioner is ultimately wholly owned by the trustee of the A. Eugene Brockman
      Charitable Trust (“the Trust"). While the Respondent commenced its existence as a BVI
      company, it became a Bermuda company on 30 November 2009. The Respondent is thus
      a corporate investment vehicle for the Petitioner and ultimately the Trust. It continues to

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   hold at the date hereof extremely valuable assets (in the region of US$1.8 billion) the vast
   majority of which are represented by investments in Cayman Islands funds.

6. The share structure of the Company is unusual and means that the Petitioner, while holder
   of all of the economic interest in the Respondent (save for US$100) represented by
   4,900,000 common shares of par value US$0.001, has no right to vote its shares. The holder
   of the single "Manager Share" with par value of US$100 has all of the voting power (bye-
   law 4(1)).

7. The Trust has been embroiled in extensive litigation in Bermuda and the United Kingdom
   since 2018. The beneficiaries of the Trust are certain members of the Brockman family,
   including Robert Brockman, and charity.

8. The trustee of the Trust is BCT Limited (“BCT” or “the Trustee”) which is a controlled
   subsidiary of Maples FS Limited. BCT was appointed as trustee of the Trust in place of
   Medlands PCT Limited (“Medlands”) by Order of the Court of Appeal dated 2 February
   2021 with its appointment to take effect on such date and on such terms as Justice Subair
   Williams was to appoint. Justice Subair Williams, by Order dated 26 March 2021,
   appointed 1 April 2021 as the date on which BCT would commence its trusteeship of the
   Trust. While BCT is a Cayman Islands company, it has irrevocably submitted to the
   jurisdiction of this Court with respect to the administration of the Trust.

9. The Petition was presented on 16 September 2020 at which point in time the shares of the
   Petitioner were ultimately held by Medlands as trustee of the Trust and the Board of the
   Petitioner was made up of Medlands' appointees. Medlands had also been appointed by
   Order of the Supreme Court dated 19 December 2019. Upon BCT's appointment as trustee,
   the Board of the Petitioner was changed and is now made up of BCT's nominees.

10. Medlands was appointed as trustee in place of St Johns Trust Company Limited (“SJTC”)
   which had been in office since 1995. By Order dated 19 December 2019 Subair Williams
   J declared that SJTC had not been properly appointed as trustee of the Trust and rather had
   at all material times been a trustee de son tort.



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11. Prior to 28 September 2018, Mr. Evatt Tamine had been a director of SJTC together with
   Mr. James Gilbert. Mr. Tamine was also, until 28 September 2018, a director of the
   Respondent. On that date, Mr Tamine resigned, inter alia , from these directorships. Mr.
   Tamine had been a director of SJTC from 2010 until 28 September 2018 and the sole
   director of SJTC between 2013 and 23 June 2017.

12. While Mr. Tamine had resigned his directorship of SJTC, he had not relinquished control
   of the shareholding of SJTC that was held via a Nevis company called Cabarita. In events
   which have been examined in the Judgment of this Court dated 26 March 2020 (2019 No.
   447), Mr. Tamine used his ultimate control of SJTC to appoint Mr. James Watlington and
   Mr. Glenn Ferguson as directors of SJTC. Messrs. Watlington, and Ferguson remain in this
   position today.

13. The Petitioner and BCT are pursuing proceedings in this Court against Mr. Tamine and his
   associated company, Tangarra Consultants Limited (2018 No. 300), for the return of
   approximately US$28 million which it is alleged to have been taken wrongfully by Mr
   Tamine from the Trust while he had control over SJTC. Mr. Tamine has denied any
   wrongdoing in this regard.

14. SJTC unsuccessfully appealed the order of 19 December 2019 to the Court of Appeal. It
   was in these Court of Appeal proceedings in which BCT was appointed as an independent
   fiduciary to take over the trusteeship. The Court of Appeal has dismissed SJTC's appeal
   with reasons which are awaited. Mr. Tamine intervened in the Court of Appeal proceedings
   and supported SJTC's (unsuccessful) appeal.

15. SJTC has filed an application seeking leave to appeal to the Privy Council. Accordingly,
   the present position is that whilst Mr. Watlington and Mr. Ferguson are continuing with
   SJTC's proposed appeal (in which Marshall Diel & Myers Limited (“MDM”) are SJTC's
   counsel) by which they seek to remove BCT as trustee of the Trust, they also remain the
   sole directors of the Company and thus control one of the Trust's most valuable assets.

16. Mr. Watlington and Mr. Ferguson also owe their position as directors of the Respondent to
   Mr. Tamine, mirroring the position with SJTC. The holder of the Manager Share in the

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      Respondent is another Nevis company, Point Investments LLC (“PI LLC”). The shares of
      PI LLC are held by the Point Purpose Trust the trustee of which the Petitioner understands
      to be or to be controlled by Mr. Tamine.

   17. Mr. Tamine has denied in correspondence that the Manager Share is held ultimately and
      beneficially for the Trust but does accept that the Respondent is an asset of the Trust. In a
      memorandum sent by Mr. Tamine, in his capacity as a director of the Respondent, to PwC
      dated 13 August 2017 Mr. Tamine advised PwC that “Point Investments Limited … is a
      closely held investment vehicle for Spanish Steps Holdings Ltd, which in turn is an asset
      and investment holding vehicle for the A. Eugene Brockman Charitable Trust.”

   18. Mr. Tamine is presently a co-operating witness with the United States Department of
      Justice in respect of the prosecution of one of the beneficiaries of the Trust, Mr. Robert
      Brockman. It appears that Mr. Tamine has received immunity from prosecution by the
      United States' authorities.

   19. The directors of the Respondent have made it clear in the affidavit evidence filed by Mr.
      Watlington that they consider that it is their duty to remain in office so that they, rather
      than the JPLs as officers of the Court, can deal with any claim, which has yet to be brought,
      but which may be brought by the United States authorities against the Respondent.



The Petition

   20. The winding up Petition in this matter was presented by the Petitioner on 16 September
      2020. The Court should note that there is an outstanding application filed by the
      Respondent on 11 August 2021 seeking a declaration that the parties agreed that the
      Petition will be withdrawn and in the circumstances the Court should either dismiss or
      alternatively strike out these proceedings on the grounds that they or vexatious and/or an
      abuse of process. Mr. Watlington in his third affidavit accepts that it would be open to the
      Petitioner to withdraw this Petition, on the terms agreed inter partes in December 2020 and
      file a fresh Petition making the same allegations.



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21. It appears to the Court that it is a pointless exercise to require the Petitioner to withdraw
   this Petition and to refile a fresh Petition in identical terms. Such a course would be wholly
   wasteful of the parties’ resources and contrary to the Overriding Objective. The Court of
   course accepts that the Respondent may wish to, if so advised, pursue an application for
   wasted costs or agreed costs arising out of the alleged agreement to withdraw the Petition.

22. The Court should also mention that there is an outstanding application dated 11 August
   2021 seeking leave to amend the Petition. Some of the proposed amendments seek to
   update the Petition to plead circumstances giving rise to change of control over the
   Petitioner.

23. Paragraph 19A of the draft Amended Petition pleads that, subsequent to BCT’s
   appointment, it called upon Mr. Tamine (via his ultimate control of the holder of the
   Manager Share in the Respondent) to transfer the Manager Share to a nominee of BCT’s
   choosing. Mr. Tamine has refused to do so asserting that BCT has no right to demand the
   transfer of Manager Share and asserting that his role in respect of the Manager Share did
   not arise as a result of his role as a director of SJTC.

24. Paragraphs 57-59 of the draft Amended Petition plead that by letter dated 12 May 2021
   MDM forwarded to the Petitioner's counsel a letter from Mr. Tamine's counsel by which
   he asked for an indemnity against the Respondent purportedly pursuant to bye-law 99 the
   Respondents bye-laws. It is in excess of US$10 million and relates to Mr. Tamine’s legal
   fees in respect of the DOJ’s investigation, the Bermuda police service investigation, an
   investigation conducted in Switzerland, and proceedings before the Supreme Court of
   Bermuda 2018 No. 390 and 2020 No. 37.

25. The Petition alleges that given that Mr. Watlington and Mr. Ferguson were appointed by
   PI LLC, a company controlled by Mr. Tamine, they owe their office to, and could be
   removed by, Mr. Tamine procuring the voting of the Manager Share. The Petitioner alleges
   that Mr. Watlington and Mr. Ferguson thus operate under a disabling and incurable conflict
   of interest and the Board of the Respondent is thus unable to adjudicate on the claim for an
   indemnity made by Mr. Tamine.


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26. Whilst the application to amend the Petition remains outstanding it is highly unlikely that
   the Court can properly refuse the Petitioner’s application to amend the Petition.

27. In addition to the amendment sought in the draft Amended Petition, the evidence filed in
   support of the Petition asserts that as a result of steps taken by the current directors of the
   Respondent:

       (1) The Petitioner has been prevented from withdrawing its investment in the
           Respondent;


       (2) The Petitioner and the Trustee are unable to access US$3 billion of the Trust’s
           assets, including effectively all of the Trust’s liquid assets (more than US$1.4
           billion), which are the source of the liquidity required for payment of the Trust’s
           routine operational and legal outgoings and expenses as well as meeting the Trust’s
           charitable commitments;

       (3) The former Trustee was forced to pursue alternative funding to meet the charitable
           commitments due in Q3 2020 at an additional cost to the Trust of US$5 million to
           avoid harm to the institutions, students and medical research supported by the Trust,
           and irreparable damage to the Trusts reputation;

       (4) The Trust has had to reduce the level of charitable commitments, which would have
           involved making over US$40 million of charitable donations during the period
           September 2020 to September 2021;

       (5) The Respondent has failed to meet the capital call in respect of at least one of the
           funds in which it is invested which would have serious consequences for it, and
           accordingly to the assets of the Petitioner and the Trust.

28. The Petitioner prays that in all the circumstances, it is just and equitable that the
   Respondent should be wound up. In particular:




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      (1) The sole purpose of the Respondent is to act as an investment vehicle for the
         Petitioner and the Petitioner holds all of the economic interest in the Respondent.
         The Trust owns the Petitioner.


      (2) The Trust and the Petitioner desired to terminate the Respondent’s role as an
         investment vehicle for the Petitioner such that the Respondent has no continuing
         purpose and/or there has been a failure of the Respondent’s substratum.

      (3) Without proper justification and in breach of their duties to the Respondent, the
         Board of the Respondent (Mr. Watlington and Mr. Ferguson) have refused to
         redeem the Common Shares in accordance with the redemptions by, amongst other
         things, improperly purporting to suspend the Respondent’s NAV.

      (4) Without proper justification and in breach of their duties to the Respondent, the
         Board of the Respondent have caused the Petitioner’s bank accounts with Bank
         Mirabaud and Bank of Singapore to be frozen (and thereby caused the Trust to incur
         additional costs of approximately US$5 million in order to meet certain of its
         charitable commitments and to reduce the level of the Trusts charitable
         commitments).

      (5) Without proper justification, the Board of the Respondent have caused the
         Respondent to refuse and/or fail to provide information to the Petitioner relating to
         the affairs of the Respondent in circumstances where the Petitioner holds
         effectively all the economic interest in the Respondent.

      (6) There is at present no effective management in relation to the affairs of the
         Respondent and the Petitioner has a justifiable lack of confidence relating to the
         affairs of the Respondent.

      (7) Any winding down of the affairs of the Respondent should be carried out under the
         control of independent officeholders as officers of the Court.




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Jurisdiction to appoint provisional liquidators

   29. Legal principles with respect to the appointment of provisional liquidators following the
       presentation of the winding up petition were recently summarised by the Court in Raswant
       v Centaur Ventures Ltd & Ors [2019] SC (Bda) 55 Com (a contributory’s petition) as
       follows:

              “The legal regime for the appointment of provisional liquidators

                     7. The statutory basis for the appointment of provisional liquidators is to
                         be found in section 170(2) of the Act and rule 23(1) of the Companies
                         (Winding-Up) Rules 1982.


                     8. Section 170(2) provides that:


                             "the Court may on the presentation of a winding-up petition
                             or at any time thereafter and before the first appointment of
                             a liquidator appoint a provisional liquidator who may be
                             the Official Receiver or any other fit person"


                     9. Rule 23(1) of the Companies (Winding-Up) Rules 1982 provides that:


                             "After the presentation of a petition for the winding-up of a
                             company by the Court, upon the application of a creditor,
                             or a contributory, or of the company, and upon proof by
                             affidavit of sufficient ground for the appointment of a
                             provisional liquidator, the Court, if it thinks fit and upon
                             such terms as in the opinion of the Court shall be just and
                             necessary, may make the appointment."


                     10. The appointment of provisional liquidators is an exercise of judicial
                         discretion. In exercising that discretion, the courts in Bermuda (Re
                         CTRAK Ltd [1994] Bda LR 37 (Ground CJ); Discover Reinsurance Co

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                  v PEG Reinsurance Co Ltd [2006] Bda LR 88 (Kawaley J); and BNY
                  AIS Nominees Ltd v Stewarship Credit Arbitrage Fund Ltd [2008] Bda
                  LR 67 (Bell J)), have followed the guidance given in the judgment of Sir
                  Robert Megarry in Re Highfield Commodities Ltd [1984] 3 All ER 884,
                  at 892-893 in following terms:


                     "At the outset let me say that I accept that the court will be
                     slow to appoint a provisional liquidator unless there is at
                     least a good prima facie case for saying that a winding-up
                     order will be made: see Re Mercantile Bank of Australia
                     [1892] 2 Ch 204 at 210, Re North Wales Gunpowder Co
                     [1892] 2 QB 220 at 224. Founding himself on cases such
                     as Re Clifoden Benefit Building Society (1868) LR 3 CH app
                     462 (where the words 'in general' should be noted) and Re
                     London and Manchester Industrial Association (1875) 1 Ch
                     D 466, counsel for HCL contended that if the company
                     opposed the application for the appointment of a
                     provisional liquidator, no appointment would be made (and
                     any ex parte appointment would be terminated) unless
                     either the company was obviously insolvent or it was
                     otherwise clear that it was bound to be wound up, or else
                     the company's assets were in jeopardy, as seems to have
                     been the case in Re Marseilles Extension Rly and Land Co
                     [1867] WN 68.


                     …………….


                     I do not think that the old authorities, properly read, had
                     the effect of laying down any rule that the power to appoint
                     a provisional liquidator is to be restricted in the way for
                     which counsel for HCL contends. No doubt a provisional


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                              liquidator can properly be appointed if the company is
                              obviously insolvent or the assets are in jeopardy; but I do
                              not think that the cases show that in no other case can a
                              provisional liquidator be appointed over the company's
                              objection. As the judge said, s. 238 is in quite general
                              terms. I can see no hint in it that it is to be restricted to
                              certain categories of cases.      The section confers on the
                              court a discretionary power, and that power must obviously
                              be exercised in a proper judicial manner. The exercise of
                              that power may have serious consequences for the
                              company, and so a need for the exercise of the power must
                              overtop those circumstances.       In particular, where the
                              winding-up petition is presented because the Secretary of
                              State considers that it is expedient in the public interest that
                              the company should be wound up, the public interest must
                              be given full weight, though it is not to be regarded as being
                              conclusive.


                      11. I accept the submission that Highfield Commodities makes clear that
                          the categories of cases in which it would be appropriate to appoint a
                          provisional liquidator are not closed. Indeed this is demonstrated by
                          the practice in this Court of appointing provisional liquidators to
                          facilitate restructuring where the Company is in the "zone of
                          insolvency" (see Discover Reinsurance, per Kawaley J at [18], [19]).”



Application for the appointment of JPLs


Ability of the Trustee to manage Trust property

   30. In his oral submissions Mr. Robinson referred to the fundamental duty of a trustee to gather,
       control and manage trust property. Mr. Robinson referred to Mr. Tamine’s decision not to

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        transfer the Management Share to the Trustee of the Trust which results in an entirely
        unsatisfactory position that the Trust assets are not managed by the Trustee or individuals
        appointed by the Trustee but by individuals whom the trustees consider “lack bona
        fides…have profited very considerably from the personal fees that they have disgorged
        from [the Respondent] while at the same time committing serious breaches of fiduciary
        duty”1. In paragraph 41 his first affidavit Mr. Goddard states that the Petitioner considers
        that “Mr. Watlington and Mr. Ferguson had breached their fiduciary duties as directors
        of [the Respondent] and should be personally accountable to [the Respondent] for all of
        the legal costs incurred in [the Respondent’s] opposition to this Petition.”


    31. As Mr. Goddard explains in his first affidavit, the renewed pursuit of this Petition by the
        Petitioner (under its new management) has been necessitated by the conduct of Mr.
        Tamine, the Respondent, and its directors, Mr. Watlington and Mr. Ferguson. Faced with
        the concerted resistance by the parties that have no material economic interest in the shares
        of Respondent, the winding up of the Respondent represents the only legal mechanism by
        which the Petitioner (on behalf of the Trust) can recover over US$3 billion of assets
        (according to the financial statements prepared by the Respondent) to which the Petitioner
        is lawfully entitled as the sole economic shareholder of the Respondent.

    32. As noted earlier, Mr. Tamine has acknowledged in his memorandum of 13 August 2017
        and to PwC that the Respondent “is a closely held investment vehicle for Spanish Steps
        Holdings Ltd, which in turn is an asset and investment holding vehicle for the A. Eugene
        Brockman Charitable Trust.” In the circumstances it is difficult to understand the sworn
        evidence of Mr. Watlington when he says in his second affidavit at paragraph 17: “Ms.
        Bell in her evidence proceeds on the misconception that we as directors owe duties to
        [the Petitioner] (which we do not) and that the assets of [the Respondent] are trust assets
        (which they are not).”




1
 Paragraph 6 of the letter from Carey Olsen Bermuda Limited ("Carey Olsen"), attorneys for the Petitioner, to
Marshall Diel & Myers, attorneys for the Respondent dated 24 September 2021.

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   33. I accept Mr. Robinson’s submission that in order to hold a trustee accountable as a trustee
       the Court must ensure that the trustee is able to gather, control and manage the trust
       property. It would be an abdication of this Court’s inherent jurisdiction to supervise the
       administration of trusts to allow a situation to arise and/or continue where the entire corpus
       of the trust (in excess of US$3 billion) is managed by individuals whom the trustee
       considers, by sworn evidence before the Court, not to be fit and proper individuals to be in
       that position.

Opposition to the Petition by the Respondent in these proceedings

   34. Bermuda and English authorities dealing with unfair prejudice petitions establish the
       position that in principle a company should take a neutral position in relation to the relief
       sought in the petition and should avoid the expenditure of the company’s funds in
       opposition to the petition. I accept Mr. Robinson’s submission that the same principles
       apply to a contributory’s petition based upon the just and equitable ground.


   35. The position under Bermuda law is made clear in the judgment of Kawaley J (as he then
       was) in Westport Trust Co Ltd v Paragon Trust Ltd [2010] Bda LR 35 at [16]-[18]:

               “16. The proposition that a company ought not expend its funds save for legitimate
               corporate purposes was supported as a broad general principle by reference to the
               principle articulated in Pickering v Stephenson (1872) LR 14 Eq 322 at 340 , “that
               the governing body of a corporation, that is in fact a trading partnership, cannot,
               in general, use the fund of the community for any purpose other than those for
               which they were contributed.” However, the narrower principle of the impropriety
               of a company expending its funds to respond to a section 111 petition was supported
               by a number of dicta, most robustly the following observations of Harman J in Re
               a Company No. 004502 of 1988, ex parte Johnson [1991] BCC 234 at 236-237:
               “The train of authority being well established, it seems to me quite clear that, if
               it is shown that directors of a company have been causing the company’s money
               to be spent on financing the company’s resistance either to a ‘pure’ sec. 459
               petition or, according to Plowman J in Re A &BC Chewing Gum and myself in


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         Re Hydrosan, in financing the company’s resistance to a member’s winding-up
         petition based on the just and equitable ground, the court should prevent such
         expenditure. Such expenditure is a misfeasance, there is no excuse for it in law
         and it is not a question of an arguable case being raised showing that it may be
         right to permit misfeasances. Misfeasances are not matters that are permitted by
         the courts and there is no question of an arguable case at all.”


         17. Implicit from a reading of the earlier portions of Harman J’s judgment is that
         the company’s participation at its own expense is not justified where it is “a
         nominal party to the sec 459 petition, but in substance the dispute is between two
         shareholders”: per Hoffman J in Re Crossmore Electrical and Civil Engineering
         Ltd. (1989) 5 BCC 37 at 38. The question of whether or not “in substance the
         dispute is between two shareholders” clearly turns on the facts of each case, a point
         which the principal authority relied upon by Mr. Marshall clearly illuminated. The
         following principles apply to deciding whether a company’s participation in the
         English equivalent of our own section 111 petitions, according to Lindsay J in Re
         a company (No. 1126 of 1992) [1994] 2 BCLC 146: “Firstly, there may be cases
         (although it is unlikely nowadays when wide objects clauses are the norm) where a
         company’s active participation in or payment of its own costs in respect of active
         participation in a s459 petition as to its own affairs is ultra vires in a strict sense.
         Secondly, leaving aside that possible class, there is no rule that necessarily and in
         all cases such active participation and such expenditure is improper. Thirdly, that
         the test of whether such participation and expenditure is proper is whether it is
         necessary or expedient in the interests of the company as a whole (to borrow from
         Harman J in ex p Johnson). Fourthly, that in considering that test the court’s
         starting point is a sort of rebuttable distaste for such participation and expenditure,
         initial scepticism as to its necessity or expediency. The chorus of disapproval in
         the cases puts a heavy onus on a company which has actively participated or has
         so incurred costs to satisfy the court with evidence of the necessity or expedience
         in the particular case. What will be necessary to discharge that onus will obviously
         vary greatly from case to case. Fifthly, if a company seeks approval by the court of


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          such participation or expenditure in advance then, in the absence of the most
          compelling circumstances proven by cogent evidence, such advance approval will
          obviously vary greatly from case to case.”


          18. Although the fifth point is not applicable to the present case, I find the above
          statement of principles to be highly persuasive and the fourth point to be of
          particular relevance to the present case. The starting point is for this Court to be
          sceptical about the need for the Company’s participation.”



36. Following the presentation of the Petition to the Court MDM set out the position of the
   Respondent (as determined by Mr. Watlington and Mr. Ferguson) in a letter to Wakefield
   Quin, the Petitioner’s then attorneys, that the Respondent would be opposing the
   application to appoint JPLs and would also oppose the winding up petition:

          “Following discussions with the US Department of Justice (the DOJ), our client
          has instructed us that they wish to contest both Spanish Steps Holdings Ltd’s
          (SSH’s) application for the appointment of Joint Provisional Liquidators (the
          JPLs) and SSH’s Winding Up Petition…the DOJ has never agreed to, acquiesced
          or concurred with the proposed liquidation of [the Respondent] and that the DOJ
          does in fact object to the liquidation and/or dissipation of assets currently held in
          the [Respondent’s] name..”


          “There is no risk at all of [the Respondent] being insolvent so there can be no
          sensible objection to a Validation Order - which of course is only required because
          of your client's misconceived ruse of presenting its Winding Up Petition.”



37. In paragraph 36 of his first affidavit Mr. Goddard states that in a short 6-week period
   between 24 September 2020 and 7 November 2020, the Respondent spent a “staggering”
   amount of $261,062.44 in legal costs which the Petitioner considers is a totally unwarranted
   and constitutes misfeasance on the part of Mr. Watlington and Mr. Ferguson.


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38. In paragraph 24 of his first affidavit dated 27 October 2020 Mr. Watlington advises the
   Court that “In terms of an estimate of future legal fees, I estimate that they will be
   approximately $900,000 to the hearing of the Petition. This estimate includes the costs
   of MDM and Leading Counsel in preparing for the hearing relating to the Petitioner's
   application to appoint JPLs on the 20 November 2020, preparing replies to the Petition
   and three affidavits of Kiernan Bell and preparing for the hearing of the Petition in early
   2021, and advising [the Respondent] throughout.”

39. In his fourth affidavit sworn on 23 August 2021 Mr. Watlington advises that of the $2
   million transferred to MDM’s trust account on 1 February 2021, the sum of $915,439.13
   had been paid out in respect of the Respondent’s fees and expenses. The schedule provided
   shows that the sum of $625,588.72 was in respect of the legal fees incurred by MDM, Paul
   Hastings (US lawyers instructed by the Respondent to “liaise with” the DOJ) and English
   leading counsel. By way of explanation Mr. Watlington advised that the fees paid included
   “Defending the Petition and the [Petitioner’s] application to appoint JPLs (the JPL
   Application), in particular working on detailed evidence responding to the Petition and
   the JPL application… Preparing for Leading Counsel to be called to the Bermuda Bar
   to appear at the JPL Application…”

40. In his fifth affidavit dated 10 September 2021 Mr. Watlington states that “the dispute on
   the Petition (and the Summons for appointment of JPLs) centres on who ought to be
   entrusted with control over the underlying assets of [the Respondent] pending the outcome
   of the DOJ Investigation, rather than any financial issues.” Mr. Watlington does not
   explain why he considers it appropriate that the Respondent should be involved in that
   dispute and why the Respondent’s funds should be expended by its directors in relation to
   that “dispute”.

41. In paragraph 10 of the same affidavit that Mr. Watlington states that; “in my view, it would
   be a breach of the duties of the current Board to permit all or a significant proportion of
   its assets to be paid over to any of its members before the indebtedness to potential
   creditors were established and quantified. To permit the assets to be disbursed, whether
   by way of redemption, dividend or supine acquiescence in the winding up petition, would


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       leave [the Respondent] and indeed its directors open to a charge of putting assets beyond
       the reach of creditors or even, potentially, accusations of committing a crime under the
       Proceeds of Crime legislation…” The highlighted passage shows that Mr. Watlington is
       under the impression that to allow assets to be administered under a court ordered winding
       up of the Respondent is in fact a breach of his duty and therefore he must take action to
       oppose the Petition.

   42. In paragraph 21 of his fifth affidavit Mr. Watlington says that he believes that the
       Respondent’s future estimated costs (calculated from 10 September 2021) until the hearing
       of the Petition will be in the region of $800,000 to $900,000. This is apparently on the basis
       that in addition to engaging MDM and English Counsel to advise the Respondent in
       relation to the Petition and all the various hearings that will take place prior to the hearing
       of the Petition, the Respondent wishes to take advice from Paul Hastings in the US who
       are “liaising with” the DOJ.

   43. A review of the correspondence and the evidence filed (including the evidence of Mr.
       Watlington himself) shows that he is completely oblivious of the legal position that in
       circumstances such as the Petition presented by the Petitioner, the Respondent must
       maintain a neutral position. The fact that the Respondent has taken such a strong position
       in opposition to the Petition presented by the Petitioner, presumably upon the instructions
       of Mr. Watlington and Mr. Ferguson, is a matter of concern to this Court. It is also a matter
       of concern to this Court that substantial amounts have been paid on account of legal fees
       in opposing the Petition by the Respondent. As Mr. Tamine acknowledged in his
       memorandum to PwC, these funds ultimately belong to the Trust.



Duty to the foreign tax authority

   44. Section 97(1) of the Act requires that every director of a company in exercising its powers
       and discharging his duties shall act honestly and in good faith with a view to the best
       interests of the company and exercise the care, diligence and skill that a reasonably prudent
       person would exercise in comparable circumstances. These duties are owed to the company
       not merely as an abstract notion but for the benefit of the shareholders as a general body.

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   In the case of a solvent company directors’ decisions are guided, as a general proposition,
   by what is in the best interest of the shareholders as a general body.


45. However, Mr. Robinson submits that in this case the directors of the Respondent, Mr.
   Watlington and Mr. Ferguson, appear to be under the misapprehension that they owe some
   form of undefined duty to the US tax authorities and the DOJ. Mr. Goddard complains in
   his first affidavit that Mr. Watlington appears to think he owes a greater duty to the DOJ
   then he does to the Respondent and its sole economic shareholder, the Petitioner.

46. Soon after their appointments as directors of the Respondent, Mr. Watlington and Mr.
   Ferguson instructed Paul Hastings to “liaise with” the DOJ in relation to the DOJ
   investigation in relation to the tax liability of one of the beneficiaries of the Trust, Mr.
   Robert Brockman. In this context it is to be noted that Mr. Tamine is a co-operating witness
   with the DOJ in respect of the prosecution of and as such has received immunity from
   prosecution by the US authorities.

47. On 10 July 2020 Paul Hastings sent the following email to Mr. Corey J. Smith, Senior
   Litigation Counsel, Tax Division, US DOJ, on behalf of the Respondent:

          “Dear Mr. Smith:


          As you know, Paul Hastings LLP represents Point Investments, Ltd. (“Point”),
          which acts through Messrs. James Watlington and Glenn Ferguson, the duly
          appointed Directors of the company.


          Point has been working to gather documents and otherwise understand efforts to
          effect the alienation, redemption, transfer, change in custody over and/or
          unexplained expenditure of Point’s assets. As we have previously advised, at least
          until this work is completed Point under its current leadership intends only to
          draw on the company’s assets for the payment of reasonable and customary
          expenses, including for banking fees, director fees, counsel’s fees, and fees



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           associated with other professional services such as those incurred by auditors
           involved in the preparation of financial statements.


           We have provided your office with both documentation reflecting the appointment
           of Messrs. Watlington & Ferguson and relevant Court decisions out of Bermuda.
           One of Point’s banks has asked that we refresh and reaffirm our understanding of
           the Department of Justice’s position as follows:

              (1) that the Department of Justice is conducting a criminal investigation as
                  to which assets held by or through Point are of central relevance;


              (2) that the Department of Justice is aware of the appointment of Messrs.
                  Watlington and Ferguson as directors of Point and the decision of the Chief
                  Justice of Bermuda approving the empowerment of these gentlemen as
                  directors of a related entity; and

              (3) that the persons and actions of Messrs Watlington and Ferguson form no
                  part of the Department’s ongoing criminal investigation”


48. Mr. Smith responds on 13 July 2020 stating “Matt: This is fine and accurate”.


49. It is not readily apparent why Mr. Watlington and Mr. Ferguson thought it was necessary
   to voluntarily advise the DOJ that the Respondent did not intend to draw on the
   Respondent’s assets other than for customary expenses given that no formal claim has been
   asserted by the DOJ against the Respondent. Further, it appears that no analysis has been
   carried out by Mr. Watlington and Mr. Ferguson as to the enforceability of such a claim
   against the Respondent in Bermuda. This communication was made to the DOJ on behalf
   of the Respondent without any discussion with the sole economic shareholder of the
   Respondent, the Petitioner. Further, it is extraordinary for a company itself to seek
   confirmation from the DOJ that the DOJ “is conducting a criminal investigation” into the
   company’s affairs.



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50. In his second affidavit Mr. Watlington sets out his further engagement with the DOJ
   following the presentation of the current Petition. At paragraph 115 he states:

          “115. Following the receipt of SSH’s Petition and the Application for the
          appointment of the JPLs on 24 September 2020, [the Respondent] instructed Paul
          Hastings to make contact with the DOJ to discuss its position as regards the
          Petition. On 1 October 2020, Paul Hastings was copied into an email from Mr.
          Smith of the DOJ… that the DOJ had never agreed to, acquiesced or concurred
          with the proposed liquidation of [the Respondent] and that the DOJ did in fact
          object to the liquidation and/or dissipation of assets currently held in the
          [Respondent’s] name…


          116…Further, through Paul Hastings, the Independent Directors [Mr. Watlington
          and Mr. Ferguson] have advised the prosecution team at the DOJ that, pending
          resolution of the DOJ’s criminal investigation, they will continue to preserve [the
          Respondent’s] assets and only draw on [the Respondent’s] assets for the payment
          of reasonable and customary expenses… The prosecution team at DOJ does not
          object to this assurance.”

51. Again, Mr. Watlington does not explain why it was thought necessary to obtain the
   instructions from the DOJ in relation to the present Petition presented by the Petitioner to
   this Court in circumstances where there was no formal claim against the Respondent. He
   also does not explain why he thought it was necessary or appropriate to advise the
   prosecution team at the DOJ that pending resolution of the DOJ’s criminal investigation
   the current directors will continue to preserve the Respondent’s assets without any
   discussion with its sole economic shareholder.


52. In paragraph 119 of the same affidavit Mr. Watlington states that “The dispute between
   [the Respondent] and [the Petitioner] is essentially about whether [the Petitioner] ought
   to have the right to redeem its shares in [the Respondent] and leave the cupboard bare in
   circumstances where there is a good reason to be concerned that [the Respondent] has a
   considerable liability to the US authorities.” As noted earlier, this statement by Mr.

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   Watlington is made in the context where there is no formal claim against the Respondent
   by any US authority and no proper analysis has been carried out by the Respondent as to
   whether such a claim would be enforceable against the Respondent in Bermuda. Further,
   Mr. Watlington does not explain how it can be said that the "cupboard would be left bare"
   in circumstances where the Court appoints its own officers, the JPLs, to wind up the
   Respondent under the supervision of this Court. As Mr. Robinson rightly submitted any
   legitimate interest of any creditor of the Respondent recognised under Bermuda law would
   be fully protected in a Court ordered winding up of the Respondent.


53. In a letter dated 24 September 2021 from Carey Olsen, attorneys for the Petitioner, to
   MDM, Carey Olsen pointed out that Mr. Watlington and Mr. Ferguson appeared to be
   under the misapprehension that they have duties to the DOJ. They also pointed out that any
   tax claim by the DOJ against the Respondent would have to be considered in light of the
   decision of the House of Lords in Government of India v Taylor [1955] AC 491 (taxes due
   under the laws of a foreign country are unenforceable in English courts and a foreign
   judgment seeking to recover taxes under foreign law is likewise unenforceable). This Court
   would expect the directors of the Respondent to have carefully considered this issue before
   “liaising with” the DOJ and before making any representations as to what they intended to
   do in relation to the assets of the Respondent. In any event this letter clearly required a
   proper response from the directors of the Respondent.

54. In response to this letter MDM, in their letter of 29 September 2021, stated that the Board
   of the Respondent is “well aware that it has no duty to the DOJ, contrary to your insistence
   - but equally, it can hardly simply ignore a serious and powerful potential creditor which
   might cripple or even sink [the Respondent].” There was no direct response to the
   Government of India point raised in the letter from Carey Olsen. This omission was picked
   up in the further letter from Carey Olsen dated 8 October 2021. In response to that letter
   MDM stated the directors’ position in the following terms:

           “We are not sure why you are focused on the possibility of enforcement in Bermuda
           or to the Bermudian courts and the simple rule about foreign tax claims given the
           nature and place of the claims being made and threatened, and the location of the

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              underlying assets. As you are no doubt aware, there are various exceptions and
              limitations to the rule about foreign claims which you do not address and we have
              little doubt that the US authorities would be quite prepared to seek enforcement of
              their claims in places other than Bermuda.”

   55. As noted at the outset Mr. Watlington has filed seven affidavits in relation to this Petition.
      There is no evidence relating to what, if any, analysis was carried out by Mr. Watlington
      and Mr. Ferguson and or their advisors in relation to the enforcement of any claims by the
      DOJ in Bermuda or in any foreign jurisdiction where assets of the Respondent may be
      located.


   56. Review of the affidavit evidence filed in these proceedings in relation to the interaction on
      behalf of the directors of the Respondent and the DOJ has left the Court with serious
      concerns as to whether the directors fully appreciate that their duties are owed solely to the
      Respondent and not to the DOJ. The directors’ decision to start “liaising with” the DOJ
      prior to having conducted any serious review of (i) the potential liability of the Respondent
      to the DOJ in respect of any tax or other claims; (ii) the enforceability of any tax claims in
      Bermuda or other jurisdictions where the Respondent’s assets may be located, leaves the
      Court with a real sense of unease. The Court is also perplexed as to why it was thought
      advisable to make voluntary representations on behalf of the Respondent that the
      Respondent will not dispose of its assets other than its ordinary fees and expenses. The fact
      that the interaction between the directors of the Respondent and the DOJ took place without
      any meaningful discussion with and input of the Respondent’s sole economic shareholder,
      the Petitioner, is equally disturbing. In the circumstances, bearing in mind that the assets
      of the Respondent are trust assets, the Court is clear that Mr. Watlington and Mr. Ferguson
      should play no further part in the resolution of any tax or other claims made by the DOJ
      against the Respondent and any such claims must be resolved by the JPLs under the
      supervision of this Court.


Mr. Tamine’s request for an indemnity under the bye-laws of the Respondent




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   57. By letter dated 27 April 2021 Canterbury Law Limited made a claim, on behalf of Mr.
       Tamine, asserting that Mr. Tamine be indemnified by the Respondent under bye-law 99 of
       the Respondent’s bye-laws. The letter enclosed a draft writ of summons claiming costs and
       expenses in respect of (i) Mr. Tamine’s response to the investigation conducted by the DOJ
       concerning the Trust structure; (ii) Mr. Tamine’s response to an investigation conducted
       by the Bermuda Police Service which arose as a result of the DOJ investigation; (iii) the
       judicial review proceedings identified in the draft writ; (iv) Mr. Tamine’s response to the
       investigation conducted by the public prosecutor, Switzerland; and (v) Mr. Tamine’s
       defence of the allegations which formed part of civil proceedings against him in Bermuda.


   58. Mr. Goddard, in his first affidavit, states that the claim for indemnity is in excess of $10
       million. Mr. Goddard expresses concern on behalf of the Petitioner and the Trust that Mr.
       Tamine has effective control over PI LLC and thus, just as he was able to arrange for the
       appointment of Mr. Watlington and Mr. Ferguson as directors of the Respondent, it is to
       be assumed he can arrange for their removal and replacement if he is displeased with the
       handling of his claim for $10 million against that the Respondent.

   59. Having regard to the unease expressed by the Court in relation to (i) the failure by Mr.
       Watlington and Mr. Ferguson to ensure that the Respondent remained neutral in relation to
       this Petition; and (ii) their apparent failure to fully appreciate that their duties are solely
       owed to the Respondent and not to the DOJ, the Court accepts the submission made by Mr.
       Robinson that it is not appropriate for Mr. Watlington and Mr. Ferguson to deal with the
       claim for indemnity made by Mr. Tamine. The Court orders that the claim made on behalf
       of Mr. Tamine for indemnity from the Respondent under its bye-laws must be considered
       and dealt with by the JPLs under the supervision of this Court.



Dysfunction and lack of trust

   60. The Court accepts Mr. Robinson's submission that the relationship between the Respondent
       and its sole economic shareholder is dysfunctional, as illustrated by the freezing of the
       Petitioner’s account with the Bank of Singapore. The Court has already referred to the
       Petitioner’s complete lack of trust in relation to the conduct of Mr. Watlington and Mr.

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       Ferguson. The Court has already expressed its view that it is wholly untenable to have a
       position where the Trust assets (the assets held by the Respondent) are managed by persons
       in whom the trustee has no trust.


   61. The Court notes that the structure providing for the Manager Share in the name of PI LLC
       (allowing it to appoint directors of SJTC and the Respondent) made commercial sense
       when SJTC was the trustee of the Trust and the Respondent held the assets of the Trust. It
       clearly makes no sense when SJTC is no longer the trustee of the Trust for PI LLC (Mr.
       Tamine) to insist that the directors of the Respondent (which holds the assets of the Trust)
       must be appointed by PI LLC and against the express wishes of the Trustee.

   62. The Court also notes that the Court of Appeal Order dated 2 February 2021 expressly
       provides that at the hearing before Subair Williams J to determine the terms upon which
       BCT should become the Trustee no parties other than those provided for in the Order shall
       have “standing to appear or present evidence or submissions in relation to the matter”.
       The Court of Appeal was clearly of the view that SJTC and/or Mr. Tamine should play no
       further part in the life of the Trust. The suggestion that the assets of the Trust, held by the
       Respondent, should in perpetuity be managed by directors appointed by Mr. Tamine and
       contrary to the express wishes of the Trustee is obviously unsustainable and cannot be
       accepted by this Court.

   63. It was for these reasons that at the conclusion of the hearing on 29 October 2021 the Court
       made an order for the appointment of the JPLs.



Application for validation

   64. Now that the JPLs have been appointed by the Court it is appropriate that they should be
       given an opportunity to consider, on behalf of the Respondent, the scope of any application
       to validate the payments pursuant to section 166 of the Act. Accordingly, the Court orders
       that the present application made by the Respondent by amended summons dated 8
       September 2021 be adjourned sine die with liberty to apply. The application for a
       restraining order against the Respondent is no longer pursued by the Petitioner.

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   65. The Court will hear the parties in relation to any application for costs, if required.




Dated this 17th day of November 2021.




                                                      _____________________________
                                                           NARINDER K HARGUN
                                                             CHIEF JUSTICE




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                         EXHIBIT 3
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                                        February 3, 2022



Herbert W. Linder, Esq.
Unites States Department of Justice
Tax Division
717 N. Harwood
Suite 400
Dallas, Texas 75201



Dear Mr. Linder,

I represent Evatt Tamine in connection with United States v. Robert Brockman and related
matters. I write because I have become aware of certain clear factual misrepresentations
in the January 31, 2022 United States’ Response in Opposition for Determination on
Complaint for Judicial Review and Abatement of Jeopardy Assessment and Jeopardy
Levy Pursuant to 126 U.S.C. § 7429. I write to request that as an officer of the Court, you
take immediate steps to contact the Court to withdraw these statements even if (as I
expect) they were unintentional:

     •     On page 23 of your brief, you indicate that “some of these communications”
           between Mr. Tamine and Mr. Brockman directing the location of bank accounts
           “took place in April of 2020, after Brockman was aware that he was under
           investigation.” That is false; Mr. Tamine became a cooperating DOJ witness in
           September of 2018 and, as the government is well aware, had no such
           communications with Mr. Brockman in April 2020.

     •     The government also includes on page 23 of its brief a table referring to “March 8
           – Apr.19, 2021 Tamine email to Brockman discussing moving funds out of
           Bermuda based banks and into Switzerland to avoid asset freezing orders and
           investment risk.” The government is aware that no such emails exist; suggesting
           that they do and purporting to characterize them in this way is a misrepresentation
           of fact.

While there are other factual errors in the January 31 filing (Mr. Brockman did not sell his
interest in the Albula, for example – it was foreclosed), I find the two factual
representations above particularly troubling. I am concerned that these are not only
misstatements that unfairly malign my client (he is and has been for more than three years


                                   Padula Law Firm, P.L.L.C.
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a cooperating witness for the government) but that they are highly material to the issue
being litigated and have significant potential to mislead the Court. One of the main thrusts
of the government’s jeopardy assessment brief is, as I understand it, to argue that Mr.
Brockman has taken post-indictment steps to place his wealth outside the reach of the
IRS and continues to do so. Citing nonexistent, purportedly-recent emails from April 2020
and March through April 2021 in support of this argument presents a real possibility that
the Court will be misled.

It is important that I address one final matter: the implication throughout your January 31,
2022 filing that Mr. Tamine and entities which with he is affiliated continue to receive and
obey Mr. Brockman’s instructions and are actively assisting him to place his assets
outside the reach of the IRS. This is completely untrue. As the government is well aware,
my client Mr. Tamine began cooperating with the Department of Justice in September
2018 and severed ties with Mr. Brockman. Since that time, Mr. Tamine has not spoken
or otherwise communicated with Mr. Brockman, let alone received and obeyed
instructions to move assets out of the reach of the IRS. Moreover, neither Mr. Tamine
nor entities with which he is affiliated (including but not limited to Edge Capital
Investments Ltd. and Cabot Global Investments Ltd.) hold any assets for the benefit,
beneficial or otherwise, of Mr. Brockman or his family. The implication in your brief that
things are otherwise is simply incorrect.

As you know, this proceeding is, by statute, on an extremely fast track, and the Court may
rule at any time. Thus, I must insist that the Department of Justice meet the obligations
owed by officers of the Court and call its misstatements of fact to the Court’s attention by
close of business tomorrow, Friday, February 4th. In the event it does not, I must fulfill
my own professional responsibilities and will take steps to inform the Court myself on
Monday.



cc:      Corey Smith, Esq.
         Jason S. Varnado, Esq.


                                          Sincerely,




                                          Michael D. Padula




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                         EXHIBIT 5
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                                                   BTCAY SPECIAL ICAS
                                                   SPECIAL ICAS CAYMAN - ONLY
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BTCO (CAYMAN) LTD 82
                                                                                          Account      Admin
Account                                                                       Number         type       State

BTCAY                                                                              81          IM
BTCAY                                                                              82          IM
See Legal Notices/Notes/Glossary for defin tion of Account type and any legal notices that may be required under the administrative state's law.
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Bessemer Accounts                                                        BTCO (CAYMAN) LTD 82



Account balances

Description                               Number      As Of 12/31/2020

BTCAY                                        81                    $0
BTCAY                                        82                     0
Total value of accounts                                            $0
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Bessemer Contacts                                                                         BTCO (CAYMAN) LTD 82




                                          Relationship team

Bessemer Trust Company (Cayman) Limited   George Wilcox           Peter Frischman                   Jackie Stirling
P.O. Box 2254                             President               Senior Client Advisor             Director
Grand Cayman
Cayman Islands
KY1-1107
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Quarterly Account Statement                                                                                                                                           81 - BTCAY




Investment overview
Account balance                                                                                                                                                     Account value over time (in thousands)

Beginning value 10/01/2020                                                                                                                 $93,568                   $110.0


                                                                                                            Year-to-date                This quarter                  $86.0

Net additions/(withdrawals)                                                                                            (1)                 (93,570)                   $62.0
Change in market value                                                                                                   1                          2
                                                                                                                                                                      $38.0
Interest and dividends                                                                                                   0                          0
                                                                                                                                                                      $14.0


Total value of account 12/31/2020                                                                                                                  $0                 $10.0-

                                                                                                                                                                                Jul            Aug               Sep                 Oct               Nov               Dec
                                                                                                                                                                               2020            2020              2020               2020               2020              2020

                                                                                                                                                                                            Total Market Value                          Net Additions/(Withdrawals)




*"Change in value" is the sum of: Change in market value (appreciation / depreciation of the assets in the sector) plus the Net Transactions in the sector (purchases, sales, redemptions, maturities, securities added and securities withdrawn) that occurred during the period.
Please contact your client advisor or see the transactions schedule later in this statement for additional details.
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Investment performance                                                                                                                       Income
5.0%
                                                                                                                                             Reportable                           This quarter   Year-to-date

4.0%                                                                                                                                         Taxable interest                              $2            $3
                                                                                                                                             Total taxable income                          $2            $3
3.0%

                                                                                                                                             Estimated                                               Annual
2.0%
                                                                                                                                             Total                                                       $0

1.0%


0.0%
                                                                      Total
                                                                     Return



                    This quarter                Year-to-date


                                                                                                                              Year-to-date
   Return                                                                                   This quarter          07/01/2020 - 12/31/2020
   Cash and Short Term                                                                              0.0%                              0.0%
   Total Return                                                                                     0.0%                              0.0%
       Note: Inception month returns (and all future period returns incorporating inception month returns) may reflect partial periods and
       will not be comparable to full period index returns.
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                                                                                                                   Year-to-date
 Indices                                                                          This quarter         07/01/2020 - 12/31/2020
 Conservat ve 20/80 Index (Taxab e) ¹                                                     3.1%                            5.0%
 3 Month Treasury B s                                                                     0.0                             0.1
 Taxab e F xed Income Index                                                               0.1                             0.4
 Mun c pa Bond Index                                                                      0.7                             1.5
 ICE BofA 1 10 Year U.S. Corporate Index                                                  1.8                             0.0
 G oba Large Cap Index                                                                  13.9                             23.3
 S&P 500 Index                                                                          12.1                             22.2
 Non U.S. Large Cap Index                                                               17.0                             23.9
 Sma & M d Cap Core Index                                                               20.5                             29.7
 Sma & M d Cap Strateg es Index                                                         21.0                             30.4
 G oba A Cap Core Index                                                                 15.7                             25.1
 G oba A Cap Index                                                                      14.7                             24.0
 Mu t Asset Opportun t es Index                                                           9.2                            14.7
 B oomberg Commod ty Index                                                              10.2                             20.2


¹Conservative 20/80 Index (Taxable) Represents:
    Bo A Merr     ynch - 0 Year AAA-A U S Corpora e & Governmen ndex (80%)
    MSC A Coun ry Wor d M (20%)
 The Taxable Fixed Income Index represents the Bank of America Merrill Lynch 1-10 Year AAA-A US Corporate & Government Index after 2/28/2013 and the Barclays Capital U.S. Government / Credit Index before 3/1/2013.
 The Municipal Bond Index represents the BofA Merrill Lynch 1-12 Year AAA-AA Municipal Index beginning 1/1/2016; the BofA Merrill Lynch 1-12 Year Municipal Index from 1/1/2011 to 12/31/2015; and the Barclays Capital Municipal Bond Index prior to 1/1/2011.
 The Global Large Cap Index represents the MSCI All Country World Large Cap Index beginning 1/1/2016 and the S&P Global LargeCap Index prior to 1/1/2016.
 The Non-U.S. Large Cap Index represents the MSCI All Country World ex-USA Large Cap Index beginning 1/1/2016; the S&P Global ex-US LargeCap Index from 1/1/2011 to 12/31/2015; and the MSCI EAFE Index prior to 1/1/2011.
 The Small & Mid Cap Core Index represents a composite of the MSCI USA Mid Cap Index (90%) and the MSCI All Country World ex USA Mid Cap Index (10%) beginning 1/1/2016; and a composite of the S&P MidCap 400 Index (90%) and the S&P Global ex US
 MidCap Index (10%) prior to 1/1/2016.
 The Small & Mid Cap Strategies Index represents the MSCI All Country World Small Mid Cap Index beginning 1/1/2016; the S&P Global MidSmallCap Index from 1/1/2011 to 12/31/2015; and the MSCI World Small Cap Index prior to 1/1/2011.
 The Global All Cap Core Index represents the MSCI All Country World Investible Market Index (IM ) beginning 4/1/2017; the MSCI All Country World Large Cap Index beginning 1/1/2016; and the S&P Global LargeCap Index prior to 1/1/2016.
 The Global All Cap Index represents the MSCI All Country World Index.
 The Strategic Opportunities Index represents a composite of the BofA Merrill Lynch 1-10 Year AAA-A U.S. Corporate & Government Index (40%) and the MSCI All Country World IMI (60%) beginning 1/1/2016; a composite of the BofA Merrill Lynch 1-10 Year
 AAA-A U S. Corporate & Government Index (40%) and the S&P Global Broad Market Index (60%) from 1/1/2014 to 12/31/2015; and the S&P Global LargeMidCap Index prior to 1/1/2014.
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                                                                                                Trade date basis



Account Holdings                                                   Average                                                      Percent
                                                               tax cost per               Market value                          of asset   Unrealized       Estimated
                                                Shares/un ts     share/unit   Tax cost   per share/unit          Market value      class    gain/loss   annual income   Yield
Total value of account                                                             $0                                     $0                      $0

Total interest and dividends accrued                                                                                       0
Total value of account including accruals                                                                                 $0
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Transactions
Annual summary                                                      Current period                                       Current year
                                                        Principal                    Income                  Principal                  Income
Beginning Cash Balance                                     $0.00                       $0.00                    $0.00                     $0.00


Additions
Deposits                                            $100,000.00                       $0.00            $100,000.00                       $0.00
Income                                                      0.00                       3.96                      0.00                     3.96
Total Additions                                     $100,000.00                       $3.96            $100,000.00                       $3.96
Subtractions
Withdrawals                                         ($97,916.65)                     ($3.96)           ($97,916.65)                     ($3.96)
Fees                                                  (2,083.35)                       0.00                 (2,083.35)                    0.00
Total Subtractions                                 ($100,000.00)                     ($3.96)         ($100,000.00)                      ($3.96)


Ending Cash Balance 12/31/2020                            $0.00                       $0.00                     $0.00                    $0.00
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Annual detail

Additions
Date              Transaction type       Shares/units   Descr ption                                                  Principal   Income

7/21/2020         Cash receipt                          AMEGY BANK OF TEXAS                                      $100,000.00
                                                        INITIAL SETTLED FUNDS - US

8/3/2020          Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.30
                                                        PERIOD 07/01/2020 TO 07/31/2020

9/1/2020          Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.93
                                                        PERIOD 08/01/2020 TO 08/31/2020

10/1/2020         Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.90
                                                        PERIOD 09/01/2020 TO 09/30/2020

11/2/2020         Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.93
                                                        PERIOD 10/01/2020 TO 10/31/2020

12/1/2020         Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.90
                                                        PERIOD 11/01/2020 TO 11/30/2020

Total additions                                                                                                  $100,000.00     $3.96

Subtractions
Date              Transaction type       Shares/units   Descr ption                                                  Principal   Income

8/6/2020          Fees                                  CORPORATE TRUSTEE FEE FOR THE                              ($416.67)
                                                        PERIOD ENDED 07/31/20

9/1/2020          Cash disbursement                     BEDELL CRISTIN                                             (5,598.71)
                                                               FIRSTCARIBBEAN INTL BANK
                                                        (CAYMAN INV #      ONBOARDING
                                                        LEGAL ADVICE KY

9/4/2020          Fees                                  CORPORATE TRUSTEE FEE FOR THE                               (416.67)
                                                        PERIOD ENDED 08/31/20

10/6/2020         Fees                                  CORPORATE TRUSTEE FEE FOR THE                               (416.67)
                                                        PERIOD ENDED 09/30/20
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Subtractions
continued
Date           Transaction type       Shares/units   Descr ption                                                     Principal   Income

11/5/2020      Fees                                  CORPORATE TRUSTEE FEE FOR THE                                   (416.67)
                                                     PERIOD ENDED 10/31/20

12/4/2020      Fees                                  CORPORATE TRUSTEE FEE FOR THE                                   (416.67)
                                                     PERIOD ENDED 11/30/20

12/21/2020     Cash disbursement                     BEDELL CRISTIN                                                (6,981.98)
                                                            FIRSTCARIBBEAN INTL BANK
                                                     (CAYMAN INV #      LEGAL ADVICE
                                                     KY

12/22/2020     Cash disbursement                     BESSEMER CAYMAN - CAPITAL                                       (416.67)
                                                     CORPORATE TRUSTEE FEE FOR THE
                                                     PERIOD ENDED 31DEC20

12/30/2020     Cash disbursement                     ROBERT T BROCKMAN MANAGEMENT TRUST                                           (3.96)
                                                               REGIONS BANK TRUST
                                                     CLOSURE TRF OF CASH - USA

12/30/2020     Cash disbursement                     ROBERT T BROCKMAN MANAGEMENT TRUST                           (84,919.29)
                                                               REGIONS BANK TRUST
                                                     CLOSURE TRF OF CASH - USA

Total subtractions                                                                                             ($100,000.00)     ($3.96)
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Quarterly Account Statement                                                                                                                                           82 - BTCAY




Investment overview
Account balance                                                                                                                                                     Account value over time (in thousands)

Beginning value 10/01/2020                                                                                                                 $93,568                   $110.0


                                                                                                            Year-to-date                This quarter                  $86.0

Net additions/(withdrawals)                                                                                            (1)                 (93,570)                   $62.0
Change in market value                                                                                                   1                          2
                                                                                                                                                                      $38.0
Interest and dividends                                                                                                   0                          0
                                                                                                                                                                      $14.0


Total value of account 12/31/2020                                                                                                                  $0                 $10.0-

                                                                                                                                                                                Jul            Aug               Sep                 Oct               Nov               Dec
                                                                                                                                                                               2020            2020              2020               2020               2020              2020

                                                                                                                                                                                            Total Market Value                          Net Additions/(Withdrawals)




*"Change in value" is the sum of: Change in market value (appreciation / depreciation of the assets in the sector) plus the Net Transactions in the sector (purchases, sales, redemptions, maturities, securities added and securities withdrawn) that occurred during the period.
Please contact your client advisor or see the transactions schedule later in this statement for additional details.
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Investment performance                                                                                                                       Income
5.0%
                                                                                                                                             Reportable                           This quarter   Year-to-date

4.0%                                                                                                                                         Taxable interest                              $2            $3
                                                                                                                                             Total taxable income                          $2            $3
3.0%

                                                                                                                                             Estimated                                               Annual
2.0%
                                                                                                                                             Total                                                       $0

1.0%


0.0%
                                                                      Total
                                                                     Return



                    This quarter                Year-to-date


                                                                                                                              Year-to-date
   Return                                                                                   This quarter          07/01/2020 - 12/31/2020
   Cash and Short Term                                                                              0.0%                              0.0%
   Total Return                                                                                     0.0%                              0.0%
       Note: Inception month returns (and all future period returns incorporating inception month returns) may reflect partial periods and
       will not be comparable to full period index returns.
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                                                                                                                   Year-to-date
 Indices                                                                          This quarter         07/01/2020 - 12/31/2020
 Conservat ve 20/80 Index (Taxab e) ¹                                                     3.1%                            5.0%
 3 Month Treasury B s                                                                     0.0                             0.1
 Taxab e F xed Income Index                                                               0.1                             0.4
 Mun c pa Bond Index                                                                      0.7                             1.5
 ICE BofA 1 10 Year U.S. Corporate Index                                                  1.8                             0.0
 G oba Large Cap Index                                                                  13.9                             23.3
 S&P 500 Index                                                                          12.1                             22.2
 Non U.S. Large Cap Index                                                               17.0                             23.9
 Sma & M d Cap Core Index                                                               20.5                             29.7
 Sma & M d Cap Strateg es Index                                                         21.0                             30.4
 G oba A Cap Core Index                                                                 15.7                             25.1
 G oba A Cap Index                                                                      14.7                             24.0
 Mu t Asset Opportun t es Index                                                           9.2                            14.7
 B oomberg Commod ty Index                                                              10.2                             20.2


¹Conservative 20/80 Index (Taxable) Represents:
    Bo A Merr     ynch - 0 Year AAA-A U S Corpora e & Governmen ndex (80%)
    MSC A Coun ry Wor d M (20%)
 The Taxable Fixed Income Index represents the Bank of America Merrill Lynch 1-10 Year AAA-A US Corporate & Government Index after 2/28/2013 and the Barclays Capital U.S. Government / Credit Index before 3/1/2013.
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 MidCap Index (10%) prior to 1/1/2016.
 The Small & Mid Cap Strategies Index represents the MSCI All Country World Small Mid Cap Index beginning 1/1/2016; the S&P Global MidSmallCap Index from 1/1/2011 to 12/31/2015; and the MSCI World Small Cap Index prior to 1/1/2011.
 The Global All Cap Core Index represents the MSCI All Country World Investible Market Index (IM ) beginning 4/1/2017; the MSCI All Country World Large Cap Index beginning 1/1/2016; and the S&P Global LargeCap Index prior to 1/1/2016.
 The Global All Cap Index represents the MSCI All Country World Index.
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 AAA-A U S. Corporate & Government Index (40%) and the S&P Global Broad Market Index (60%) from 1/1/2014 to 12/31/2015; and the S&P Global LargeMidCap Index prior to 1/1/2014.
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                                                                                                Trade date basis



Account Holdings                                                   Average                                                      Percent
                                                               tax cost per               Market value                          of asset   Unrealized       Estimated
                                                Shares/un ts     share/unit   Tax cost   per share/unit          Market value      class    gain/loss   annual income   Yield
Total value of account                                                             $0                                     $0                      $0

Total interest and dividends accrued                                                                                       0
Total value of account including accruals                                                                                 $0
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Transactions
Annual summary                                                      Current period                                       Current year
                                                        Principal                    Income                  Principal                  Income
Beginning Cash Balance                                     $0.00                       $0.00                    $0.00                     $0.00


Additions
Deposits                                            $100,000.00                       $0.00            $100,000.00                       $0.00
Income                                                      0.00                       3.96                      0.00                     3.96
Total Additions                                     $100,000.00                       $3.96            $100,000.00                       $3.96
Subtractions
Withdrawals                                         ($97,916.65)                     ($3.96)           ($97,916.65)                     ($3.96)
Fees                                                  (2,083.35)                       0.00                 (2,083.35)                    0.00
Total Subtractions                                 ($100,000.00)                     ($3.96)         ($100,000.00)                      ($3.96)


Ending Cash Balance 12/31/2020                            $0.00                       $0.00                     $0.00                    $0.00
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Annual detail

Additions
Date              Transaction type       Shares/units   Descr ption                                                  Principal   Income

7/21/2020         Cash receipt                          AMEGY BANK OF TEXAS                                      $100,000.00
                                                        INITIAL SETTLED FUNDS - US

8/3/2020          Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.30
                                                        PERIOD 07/01/2020 TO 07/31/2020

9/1/2020          Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.93
                                                        PERIOD 08/01/2020 TO 08/31/2020

10/1/2020         Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.90
                                                        PERIOD 09/01/2020 TO 09/30/2020

11/2/2020         Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.93
                                                        PERIOD 10/01/2020 TO 10/31/2020

12/1/2020         Interest                              INTEREST ON BESSEMER SWEEP FOR                                            0.90
                                                        PERIOD 11/01/2020 TO 11/30/2020

Total additions                                                                                                  $100,000.00     $3.96

Subtractions
Date              Transaction type       Shares/units   Descr ption                                                  Principal   Income

8/6/2020          Fees                                  CORPORATE TRUSTEE FEE FOR THE                              ($416.67)
                                                        PERIOD ENDED 07/31/20

9/1/2020          Cash disbursement                     BEDELL CRISTIN                                             (5,598.71)
                                                               FIRSTCARIBBEAN INTL BANK
                                                        (CAYMAN INV #      ONBOARDING
                                                        LEGAL ADVICE KY

9/4/2020          Fees                                  CORPORATE TRUSTEE FEE FOR THE                               (416.67)
                                                        PERIOD ENDED 08/31/20

10/6/2020         Fees                                  CORPORATE TRUSTEE FEE FOR THE                               (416.67)
                                                        PERIOD ENDED 09/30/20
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                                                                                                                                                    *SNDTNX4203G1442110001400016*
                                                                                          Statement dated December 31, 2020           Page 7 of 7
                                                                                              82 - BTCAY



Subtractions
continued
Date           Transaction type       Shares/units   Descr ption                                                     Principal   Income

11/5/2020      Fees                                  CORPORATE TRUSTEE FEE FOR THE                                   (416.67)
                                                     PERIOD ENDED 10/31/20

12/4/2020      Fees                                  CORPORATE TRUSTEE FEE FOR THE                                   (416.67)
                                                     PERIOD ENDED 11/30/20

12/21/2020     Cash disbursement                     BEDELL CRISTIN                                                (6,981.98)
                                                            FIRSTCARIBBEAN INTL BANK
                                                     (CAYMAN INV #      LEGAL ADVICE
                                                     KY

12/22/2020     Cash disbursement                     BESSEMER CAYMAN - CAPITAL                                       (416.67)
                                                     CORPORATE TRUSTEE FEE FOR THE
                                                     PERIOD ENDED 31DEC20

12/30/2020     Cash disbursement                     ROBERT T BROCKMAN CHARITABLE TRUST                           (84,919.29)
                                                               REGIONS BANK TRUST
                                                     CLOSURE TRF OF CASH - USA

12/30/2020     Cash disbursement                     ROBERT T BROCKMAN CHARITABLE TRUST                                           (3.96)
                                                               REGIONS BANK TRUST
                                                     CLOSURE TRF OF CASH - USA

Total subtractions                                                                                             ($100,000.00)     ($3.96)
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Legal Notices/Notes/Glossary                                                                                                                                                       Rounding
                                                                              separately. Checking account balances are not reflected in the Value of
                                                                              accounts over time and Asset allocation of accounts graphs.                                          Due to rounding, totals between various schedules may differ slightly.
General                                                                       Market prices                                                                                        Trade vs. settlement date reporting
                                                                              Most prices that appear on this statement are received from an independent                           A trade/settlement date reporting option is available for Capital gains,
Account balance                                                               pricing service. While every effort is made to ensure that these prices are
Beginning and closing market values for this schedule in the Overview                                                                                                              Account holdings and Account holdings summary schedules. All
                                                                              accurate as of month-end, this cannot be fully guaranteed.                                           other schedules are available on a trade date basis only. When the
and Analysis sections will always include income cash (See note under
Amounts included in the income portfolio).                                    Market value of International Securities                                                             settlement date option is selected, values may d ffer from other
                                                                              The market value of international securities is calculated using an audited price with a precision   schedules based on trade date. This d fference is attr butable to market
Asset allocation graphs                                                       of 10 decimal places. The result of this calculation is displayed in both the Holdings and           movement on pending trades.
Asset allocation graphs display only asset classes having a positive dollar   Account Holdings by Tax Lot Schedules. Due to space limitations on the statement, the price
value.                                                                        is rounded and displayed with three decimal places only. For this reason the manual calculation      Overview
                                                                              of market value (using the Shares / Units x rounded price displayed on the statement) may
Account type                                                                  differ slightly from the market value displayed.
                                                                                                                                                                                   Interest and dividends
                                                                                                                                                                                   The "Interest & dividends" line tem includes interest and dividend
Custody Accounts (C)                                                          Mutual funds
We maintain custody of the assets in these accounts on your behalf but                                                                                                             payments, accrued interest paid or received on purchases and sales of
                                                                              Mutual funds held as investments in accounts for which Bessemer is the                               fixed income securities and accrued interest imputed on the free
we are not responsible for managing them or providing investment              Custodian may be held in Bessemer's name. In this case, your transactions in
advice about them. We have no author ty or responsibil ty for                                                                                                                      receive or free deliver of Fixed Income secur ties.
                                                                              such mutual funds may be aggregated w th other clients transactions in such
determining whether to buy or sell the assets in these accounts. Please       funds, and your account may receive the breakpoints available from such funds on                     Income
see your account agreement for further details about our respective                                                                                                                The amounts reflected on the Income schedule consist of cash
                                                                              the net transaction submitted, which could result in your paying higher or lower
duties concerning these accounts.                                                                                                                                                  transactions and other adjustments that affect reportable income (i.e.,
                                                                              sales charges to such funds. Bessemer account records are updated daily for
                                                                                                                                                                                   discount bonds). These amounts may d ffer from those displayed in
Directed Trusts (DT)                                                          purchase and sale activity. Dividends and capital gains distr butions are recorded
When we serve as trustee of a directed trust or custodian of an IRA, we                                                                                                            the Account balance and Transaction summary schedules.
                                                                              as soon as the information is made available to Bessemer by the Fund. At times
have no responsibil ty or authority to buy, sell, hold, or manage some or     these transactions may be recorded after the effective date of the distribution due                  Income and capital gains
all of the trust's assets. An independent fiduciary has that author ty and    to the timing of receipt of such information.                                                        This data is being provided to assist you in the preparation of your
respons bility, as set forth in the governing instruments and federal and     Mutual funds held directly in the client's name, but reflected on Bessemer's                         Federal estimated taxes. The class fication of dividends between
state law.                                                                    records as an accommodation to the client, will be updated only upon receipt of                      qual fied and non-qual fied will be determined as information becomes
                                                                              such information from the client. A copy of the statement should be forwarded to                     available. These figures are unaudited and are not intended to be used
Investment Advisory (IA)
We serve as investment advisor for the assets in these accounts and           Bessemer either by the client or, preferably, by the fund on a regular basis.                        in preparing your actual tax return. See note about Securities sold w th
                                                                                                                                                                                   unknown cost schedule for further information. Net realized long and
will provide investment advice about them on an ongoing basis.                Net additions/(withdrawals)                                                                          short term cap tal gains include amounts accrued year-to-date from
However, we lack the author ty or responsibil ty to determine whether to      Net additions/(w thdrawals) consists of cash (wire transfers, fees, additions and
buy or sell assets in these accounts, and we will only take such actions                                                                                                           Bessemer's common trust funds. Dividends qualifying for the
                                                                              withdrawals requested by the client) and securities which are received in free
upon your spec fic instructions to do so. Please see your account                                                                                                                  preferential tax rate will be determined at a later date.
                                                                              and/or delivered out free. Cap tal gain distributions are not included in the net
agreement for further details about our respective duties concerning          add tions/(withdrawals) total.                                                                       Income and Capital gains schedules will not print unless applicable.
these accounts.                                                                                                                                                                    The amounts reflected in the Cap tal gains schedule are consistent w th
                                                                              New accounts
                                                                                                                                                                                   date basis used for the Account holdings schedule.
Investment Management (IM)                                                    The Value of accounts over time and Account value over time graphs will not
We serve as investment manager for the assets in these accounts and           print f the relationsh p or account has been open for less than six months.
have full discretion and authority to buy, sell, or hold assets. Please see                                                                                                        Indices
                                                                              Omissions                                                                                            Index values sometimes may be month-end estimates. The time period
your account agreement for further details about our respective duties        tems less than $1 00 are not included in the Income and Accrual schedules.
concerning these accounts.                                                                                                                                                         for indices will match the period of the corresponding asset class.
                                                                              Ratings
Non-Custody, Non-Managed (NC)                                                 Bond ratings displayed for fixed income secur ties (Account Holdings) are                            Performance
We do not hold assets in these accounts and we are not responsible for        provided by Moody's and Standard & Poor's. Assets not covered by Moody's                             For group accounts, performance has been aggregated for each asset
ver fying their existence or value, or for managing them or providing         (Analysis), will indicate a Standard & Poor's rating.                                                class.
investment advice about them. We have no author ty or respons bility
for determining whether to buy or sell the assets in these accounts.          Non-custody                                                                                          Total value of account
Please see your account agreement for further details about our               Non-custody assets, or assets "held away," are reported on the basis of                              For accounts that have elected to receive a settlement date Account
respective duties concerning these accounts.                                  statements received from outside custodians or information reported by the                           Holdings schedule, there may be a d fference in the value displayed for
                                                                              client. The short-term reserve position is updated for non-secur ty trading                          "Total account" (settlement date value) at the end of the Account
Trust, Estate, UTMA, Guardianship, ERISA, IRA and Keogh                       transactions (e.g., dividends, interest, miscellaneous rece pts and disbursements)                   Holdings schedule versus the "Total value of account" (trade date)
Accounts for which Bessemer is a Fiduciary (TE)                               on the last business day of the month based on information received from the                         displayed on the Overview.
Our authority and respons bility for the assets in these accounts are         outside custodian, while security transactions are posted to the account upon                        1) When an account has pending trades, the difference is due to the
determined by the governing instruments and federal and state law.            receipt of an advice from the executing broker or the outside custodian's month-                     appreciation or depreciation of pending security trades. In add tion, f a
Checking Accounts                                                             end statement. Consequently, secur ty holdings and short-term reserve pos tions                      trade is for a fixed income instrument, the "Total account" balance will
Though checking accounts are listed under Account balances on the             reflected in Bessemer's statement may d ffer from the security pos tions and                         also reflect the accrued Interest (purchased or sold) until settlement
Bessemer accounts page, checking account statements are mailed                short-term reserve pos tion shown in the custodian's statement.                                      date.
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                                                                                                                                                                                                                                                       *SNDTNX4203G1442110001500016*
Total value of account... continued                                             Account Holdings by Tax Lot                                                            Alternative Investments
2) When principal-only accounts have income cash, the d fference is             Account holdings by tax lot is not intended as a substitute for account
                                                                                                                                                                       Non-Marketable Alternative Investments (the "Funds") are generally
due to the appreciation or depreciation of pending secur ty trades and/or       holdings. Lot information is shown only for applicable holdings.
                                                                                                                                                                       valued quarterly. As these Funds are a fund-of-funds structure, such
minus the income cash                                                           Unknown cost                                                                           valuations are dependent on the information received from the
3) When a non-cash account (Bessemer does not perform the                       Lots whose tax cost is noted as unknown were e ther transferred to Bessemer            underlying investments/managers and may be received several months
accounting for the cash) has pending security trades, the difference is         without the associated tax cost information or affected by a cap tal reorganization    after the valuation date. In order to provide a valuation for monthly
explained by the value associated with the pending secur ty trades.             associated with the security for which Bessemer does not possess sufficient            client account statements, an estimated value is provided and
4) When an account has cash and non-cash components, the difference             information to determine the new tax cost.                                             calculated by using information received from the underlying
may be any combination of the examples above.
                                                                                Unrealized gain or loss for fixed income holdings                                      investments/managers and adjusted for subsequent member capital
Account holdings                                                                The unrealized gain/loss for fixed income holdings issued or purchased at a            contr butions and distributions. A net internal rate of return is displayed
                                                                                discount may be subject to adjustments at the time of sale per IRS regulations.        for all funds that have been in existence long enough for the managers
Amounts included in the income portfolio                                                                                                                               to significantly build their portfolios. This figure may not be indicative of
For accounts maintaining a separate income portfolio, the accumulated           Pending trades                                                                         the ultimate performance of a fund until all of its investments are
                                                                                Pending trades are not reflected in settlement date holdings or valuations.            realized.
income will be shown as a separate line item following the Total value of
account at the end of the Account holdings schedule.                            Accruals
Book cost                                                                                                                                                              Transactions
A book cost option is available for the Account holdings and Account            Dividends
holdings summary schedules only. All other schedules containing cost            This section reflects amounts that are ex-dividend and awaiting payment.               Equity trade commissions
information will be based on tax cost.                                          Fixed income                                                                           All domestic equity trades are executed on a best execution basis, with
                                                                                                                                                                       commissions not to exceed 4.5 cents per share. In certain rare
Book versus market price                                                        This section includes both accruals for the current period and amounts awaiting
If the market price is unavailable for a particular secur ty, then the book     payment.                                                                               instances, due to liquid ty and pricing of certain secur ties, higher per
value will be used as a substitute for the price.                                                                                                                      share equ ty commissions may be incurred.
                                                                                Effective Yield                                                                        Electronic Fund Transfers and Remittance Transfers Error
Collateral shares
When a spec fic holding is footnoted as "Collateral," a portion or all of the   For Bessemer Trust-managed fixed income holdings, the yield shown is typically         Resolution Rights
                                                                                the "effective yield." Effective yield is a measure of a security's annualized yield   If you have any questions about Electronic Fund Transfers (such as
asset is held as collateral.
                                                                                based on the present value of its future cash flows. The effective yield calculation   direct depos ts or w thdrawals, ACH transfers, ATM transactions or
Restricted shares                                                               considers whether the bond was purchased at par or at a premium or discount,           deb t card transactions from personal accounts) or Remittance
When a spec fic holding is footnoted as "Restricted," a restriction applies     assumes the reinvestment and compounding of dividend or interest payments,             Transfers (non-US wires from personal accounts) (together, "Transfers"),
to a portion or all of the shares.                                              and includes the value of any embedded options or structural elements, such as         or if you do not recognize any Transfer, please contact us immediately,
Assets held away                                                                calls or prepayments. Effective yield is calculated before fees and expenses. For      e ther (1) by calling your Client Advisor at the telephone number on your
An asset is considered "held away" when Bessemer Trust is not                   Bessemer Trust-managed fixed income funds, the effective yield is the weighted         statement or at 212-708-9100, or (2) if the Transfer in question is an
custodian for all or a portion of the shares or assets. These assets are        average effective yield of the underlying fixed income holdings.                       ATM transaction or a deb t card transaction, by calling (866) 237-7332
marked accordingly within the description on the Account holdings               If the effective yield cannot be determined, the yield shown is yield to matur ty      (which is 866-BESS-DEB, and which is available both during and after
schedule. Assets that are held away are posted on or after settlement           (YTM), which is the total return antic pated f the secur ty is held until the end of   normal business hours). You can also contact us in writing at Bessemer
date, based on transactions communicated by the client or a third party          ts lifetime. If the YTM cannot be determined, the yield shown is the current          Trust, 100 Woodbridge Center Drive, Woodbridge, New Jersey 07095,
custodian.                                                                      yield. Current yield is calculated by dividing estimated annual income by the          Attention: Client Advisory Support. When you contact us, please
When an entire account is "held away" (a non-custody account), the              asset's current market value. Where no yield is shown, the calculated yield is not     provide your name and account number, the date and amount of the
assets are not marked as "held away". The account is recognized as a            meaningful.                                                                            suspected error, and an explanation of why you believe there is an error
non-custody account - see Non-Custody section of Notes/Glossary.                An additional yield calculation, known as the "SEC Yield," is shown for Old            or why you need more information.
Amortization of tax cost for fixed income holdings                              Westbury mutual funds. The SEC Yield is based on the 30-day period ending on           To ensure that any questions about a Transfer can be resolved and
IRS regulations require the amortization of the tax cost for certain fixed      the last day of the previous month. It is computed by dividing the net (of             corrective action can be taken, please advise us of any questions or
income holdings purchased at a premium such as municipal bonds.                 expenses) investment income per share earned during the period by the                  problems within 60 days from the date of the first
Unless noted otherwise, tax cost for fixed income holdings is amortized.        maximum offering price per share on the last day of the period.                        statement on which an unauthorized Electronic Fund Transfer
                                                                                                                                                                       appeared, or w thin 180 days from the date we told you that a
Equity sectors                                                                                                                                                         Rem ttance Transfer would be made available to a recipient. We will
Sector and Industry classifications included in this statement utilize the      Securities sold with unknown cost
                                                                                This schedule includes information on assets sold for which no cost basis has          investigate your questions and will correct any error promptly.
Global Industry Classification Standard ("GICS®"). GICS® is the
                                                                                been provided. Cap tal gains and losses on these securities are not reflected in       Although our investigation may take up to 45 days, f it takes more than
exclusive property and a service mark of Morgan Stanley Capital
                                                                                the Capital gains schedule in the Overview section.                                    14 days we will cred t your account within 14 days for the amount you
International Inc. ("MSCI") and Standard & Poor's ("S&P"), a division of
                                                                                                                                                                       think is in error so that you will have use of the funds during our
The McGraw-Hill Companies, Inc. Neither MSCI nor S&P makes any
                                                                                                                                                                       investigation. We will share the results of our investigation w thin 3
express or implied warranties or representations or shall have any              Analysis
                                                                                All schedules displayed in this section are made available on a quarterly basis        business days after completing t. If we determine that there was no
liabil ty for any direct, indirect, special, punitive, consequential or any
                                                                                only.                                                                                  error, we will send you a wr tten explanation, and we will provide
other damages (including lost prof ts) w th respect to GICS® data or
                                                                                                                                                                       supporting documentation upon your request.
results obtained therefrom.
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Legal Notices/Notes/Glossary - continued...
Direct Deposits
IIf you would like to know whether a preauthorized transfer to your
account has occurred, you may call your Client Advisor at the telephone
number on your statement or at 212-708-9100.

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address the suitability of securities or the suitability of securities for
investment purposes, and should not be relied on as investment advice."
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                                                                           *SNDTNX4203G1442110001600016*
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                         EXHIBIT 6
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07:57:22    1                 UNITED STATES DISTRICT COURT
            2                  SOUTHERN DISTRICT OF TEXAS
                                        _ _ _
            3
               THE HONORABLE GEORGE C. HANKS, JR., JUDGE PRESIDING
            4 _____________________________________________________
              USA,                         No. 4:21-CR-00009-1
            5
                              Plaintiff,
            6
              vs.
            7
              ROBERT T. BROCKMAN,
            8
                             Defendant.
            9 _____________________________________________________
                     COMPETENCY HEARING -- DAY 3 AM SESSION
           10
                  OFFICIAL REPORTER'S TRANSCRIPT OF PROCEEDINGS
           11
                                  Houston, Texas
           12
                           WEDNESDAY, NOVEMBER 17, 2021
           13 _____________________________________________________
           14 APPEARANCES:
              For the Plaintiff:         COREY J. SMITH, DOJ
           15
                                         CHRISTOPHER MAGNANI, DOJ
           16
                                         LEE F. LANGSTON, DOJ
           17
                                         BORIS BOURGET, DOJ
           18
                For the Defendant:       JASON S. VARNADO, ESQ., Attorney
           19                            at Law
           20                            COLLEEN O'CONNOR, ESQ., Attorney
                                         at Law
           21
                                         JAMES P. LOONAM, ESQ., Attorney
           22                            at Law
           23                            KATHRYN KENEALLY, ESQ., Attorney
                                         at Law
           24
           25 For the                    n/a
              Interpreter:
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    1
        Reported by:           Sean Gumm, RPR, CRR
    2                          Official Court Reporter
                               United States District Court
    3                          Southern District of Texas
                               sean_gumm@txs.uscourts.gov
    4
    5 Proceedings recorded by mechanical stenography.
      Transcript produced by Reporter on computer.
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 6   CRAIG MOSS, (For the Government)
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23
24
25
26
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28
                         SEAN W. GUMM, CSR #13168, RPR, CRR

               PEOPLE vs ROBERT T. BROCKMAN, CASE NO. 4:21-CR-00009-1
                 *** Reproduction only per Govt. Code §69954(d) ***
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10:33:48    1 admitted.
10:33:49    2                  MR. LANGSTON:       Sorry.     No further
10:33:51    3 questions, Your Honor.          Thank you.
10:33:57    4                  THE COURT:      You may proceed whenever
10:33:58    5 you are ready.
10:33:58    6                        CROSS-EXAMINATION
10:33:58    7 BY MS. KENEALLY:
10:34:03    8 Q.    Good morning, Mr. Moss.
10:34:04    9 A.    Morning.
10:34:04   10 Q.    We've never spoken before; correct?
10:34:06   11 A.    I don't believe so.
10:34:07   12 Q.    I'm sorry, I'm having trouble hearing you?
10:34:10   13 A.    I don't believe so.         I don't know what your
10:34:11   14 name is.
10:34:12   15 Q.    My name is Kathy Keneally.            Good morning,
10:34:15   16 Mr. Moss.      Do you remember speaking with me before?
10:34:17   17 A.    I do not believe so.
10:34:18   18 Q.    Have you ever spoken with any member of the
10:34:21   19 defense legal team?
10:34:23   20 A.    Not that I'm aware of.
10:34:25   21 Q.    You did speak with the Government, though;
10:34:26   22 correct?
10:34:27   23 A.    Yes.
10:34:27   24 Q.    Um, how many occasions have you spoken with the
10:34:30   25 Government?
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10:34:31    1 A.    Two.
10:34:32    2 Q.    And when was the first time?
10:34:34    3 A.    June of 2019, I believe.
10:34:38    4 Q.    Second time?
10:34:40    5 A.    Week ago.
10:34:48    6 Q.    Fair to say Mr. Brockman had reduced his
10:34:50    7 involvement in Reynolds and Reynolds in the last few
10:34:52    8 years?      Stepping back?      Slowing down?
10:34:56    9 A.    Certainly did after the indictments -- or
10:34:58   10 subpoenas had been issued, yes.
10:35:00   11 Q.    Well, prior to the indictment?
10:35:03   12 A.    Shortly before the indictment, his -- his -- he
10:35:07   13 did not come to the office as often and he was, you
10:35:11   14 know -- his access was limited.
10:35:13   15 Q.    When -- when you met with the Government in
10:35:16   16 June of 2020, do you recall telling the Government
10:35:19   17 that Mr. Brockman had been slowing down for about
10:35:22   18 two years prior to that?
10:35:24   19 A.    No, I don't recall that.
10:35:25   20 Q.    You don't remember saying that to the
10:35:26   21 Government?
10:35:27   22 A.    No.
10:35:29   23 Q.    Have you been told Bob has Parkinson's disease?
10:35:31   24 A.    Yes.
10:35:32   25 Q.    When did you learn that?
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10:35:32    1 A.    Jim Jackson told me that on a return trip from
10:35:40    2 Dayton.      I don't recall the date.
10:35:44    3 Q.    Approximate date?         Year?
10:35:48    4 A.    2019, 2020 -- one of those.
10:35:55    5 Q.    So Reynolds and Reynolds -- who owns Reynolds
10:36:00    6 and Reynolds?
10:36:00    7 A.    The trust.
10:36:01    8 Q.    So immediately above Reynolds and Reynolds,
10:36:04    9 that would be --
10:36:05   10 A.    UCSH.
10:36:06   11 Q.    Universal Computers Services Holding?
10:36:08   12 A.    Yes.
10:36:08   13 Q.    Above that UCSH?
10:36:10   14 A.    Yes.
10:36:11   15 Q.    UCSH is?      I get this wrong every time.
10:36:14   16 A.    The name?
10:36:15   17 Q.    Yeah.
10:36:15   18 A.    Universal Computer Systems Holding.
10:36:22   19 Q.    And where are those companies located?
10:36:26   20 A.    The US, Delaware.
10:36:29   21 Q.    Where are the business operations?
10:36:30   22 A.    Houston and Dayton, Ohio.
10:36:36   23 Q.    Approximately how many people do they employ at
10:36:38   24 those locations?
10:36:39   25 A.    About 4,500 employees.
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10:36:44    1 Q.    And --
10:36:45    2 A.    I'm sorry, go ahead.
10:36:46    3 Q.    And they're all -- all three of those, they're
10:36:48    4 US tax-paying entities; correct?
10:36:51    5 A.    Yes, always.
10:36:51    6 Q.    And who owns UCSH?
10:36:55    7 A.    Spanish Steps.        Spanish Steps and Pilot.
10:37:04    8 Q.    And ultimately, Spanish Steps is owned by the
10:37:10    9 A. Eugene Brockman Charitable Trust; is that
10:37:11   10 correct?
10:37:11   11 A.    That's my understanding.
10:37:12   12 Q.    You've known that for a long time; correct?
10:37:15   13 A.    Yes.
10:37:15   14 Q.    Not a secret from you?
10:37:16   15 A.    No.
10:37:17   16 Q.    And, in fact, it's something you've disclosed;
10:37:21   17 correct -- openly disclosed the offshore structure
10:37:25   18 of the ownership of these US companies; correct?
10:37:27   19 A.    To that level, yes.
10:37:47   20 Q.    Now, you -- you mentioned the dividend payments
10:37:58   21 that were made in -- some time in 2020; is that
10:38:04   22 correct?
10:38:04   23 A.    Yes.
10:38:04   24 Q.    And it's my understanding those dividend
10:38:08   25 payments -- those dividends had been made by the
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10:38:10    1 company?
10:38:11    2 A.    That's correct.
10:38:11    3 Q.    Which company?
10:38:12    4 A.    I believe that was DCS.
10:38:15    5 Q.    And were those dividend payments made to the
10:38:19    6 shareholder, or were they made to pay obligations of
10:38:26    7 the shareholder?
10:38:27    8 A.    That's correct.
10:38:27    9 Q.    Choice --
10:38:28   10 A.    The second one.
10:38:29   11 Q.    The second one.        So the dividend payments made
10:38:31   12 in 2020 were made -- obligations ultimately of the
10:38:35   13 A. Eugene Brockman Charitable Trust?
10:38:38   14 A.    That's my understanding, yes.
10:38:40   15 Q.    Am I right those dividend payments went to
10:38:44   16 charities?
10:38:45   17 A.    Charities and schools.
10:38:46   18 Q.    Charities and schools?
10:38:47   19 A.    Yes.
10:38:47   20 Q.    Based primarily in Houston; correct?
10:38:51   21 A.    Primarily, yes.
10:38:53   22 Q.    So basically what had happened was the trust
10:38:56   23 had made commitments to make charitable
10:38:59   24 contributions, and those charitable contributions --
10:39:01   25 the trust ran into a financial liquidity issue so
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    1                      C E R T I F I C A T E
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    4             I hereby certify that pursuant to Title 28,
    5 Section 753 United States Code, the foregoing is a
    6 true and correct transcript of the stenographically
    7 reported proceedings in the above matter.
    8             Certified on 11/17/2021.
    9
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                    _________________________________
   11               Sean Gumm, RPR, CRR
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